          Case: 22-55342, 01/27/2023, ID: 12640669, DktEntry: 50, Page 1 of 2




                UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
  Form 32. Response to Notice of Case Being Considered for Oral Argument
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form32instructions.pdf

9th Cir. Case Number(s)              22-55342

Case Name         Federal Trade Commission v. Apex Capital Group, LLC, et al.

Hearing Location (city)           Pasadena

Your Name         Brian D. Schmalzbach

List the sitting dates for the three sitting months you were asked to review:
  May 8-12
  June 5-9, 12-16, 26-30
  July 10-14, 17-21

Do you have an unresolvable conflict on any of the above dates?                                Yes      No

If yes, list the specific day(s) and the specific reason(s) you are unavailable:
  June 5-9, 12-16, 26-30 - Parental leave
  July 10-11 - Previously scheduled family vacation




Do you have any other cases pending in this court for which you received a notice
of consideration for oral argument during the three sitting months listed above?
    Yes       No

If yes, list the number, name, and hearing city of each of the other case(s):
* As explained in Wells Fargo’s December 19, 2022 letter, FTC v. Triangle Media
Corporation, No. 22-56012, is a related case under Circuit Rule 28-2.6 that was not pending in
this Court at the time of Wells Fargo’s opening brief. The Court may wish to schedule these
related cases for oral argument together.

Signature      s/ Brian D. Schmalzbach                                 Date Jan 27, 2023
(use “s/[typed name]” to sign electronically-filed documents)
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 32                                                                                        New 12/01/2018
        Case: 22-55342, 01/27/2023, ID: 12640669, DktEntry: 50, Page 2 of 2




                           CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2023, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Ninth Circuit using

the appellate CM/ECF system, which will also serve counsel of record.


Dated: January 27, 2023               /s/ Brian D. Schmalzbach
                                      Brian D. Schmalzbach
